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                United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 23-3228                                                September Term, 2023
                                                                     1:23-cr-00257-TSC-1
                                                       Filed On: January 2, 2024
United States of America,

             Appellee

      v.

Donald J. Trump,

             Appellant

      BEFORE:      Henderson, Childs, and Pan, Circuit Judges

                                        ORDER

        It is ORDERED, on the court’s own motion, that counsel be prepared to address
at oral argument on January 9, 2024, any inquiries by the Court regarding discrete
issues raised in the briefs filed by amici curiae.



                                       Per Curiam

                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/

                                                         Michael C. McGrail
                                                         Deputy Clerk
